                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                 June 2, 2016
                              No. 10-15-00262-CR
                                 WILLIAM COOK
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                      From the County Court at Law No. 1
                            McLennan County, Texas
                         Trial Court No. 20150155 CR1
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's Judgment and Sentence signed on June 2, 2015 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

